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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-0651V
                                    Filed: September 27, 2019
                                          UNPUBLISHED


    IDA E. SONDY,
                                                              Special Processing Unit (SPU);
                         Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                        Table Injury; Pneumococcal
                                                              Conjugate Vaccine; Shoulder Injury
    SECRETARY OF HEALTH AND                                   Related to Vaccine Administration
    HUMAN SERVICES,                                           (SIRVA)

                        Respondent.


David Alfred Couch, David A. Couch, PLLC, Little Rock, AR, for petitioner.
Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On May 8, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by the pneumococcal conjugate vaccination she
received on April 1, 2015. Petition at ¶¶ 1-2. Petitioner further alleges that she received
the vaccination in the United States, that she suffered the residual effects of her SIRVA
for at least six months, and that she has not filed a civil action or received compensation


1
 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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for her injuries, alleged as vaccine caused. Id. at ¶¶ 2, 4, 6. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On September 27, 2019, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent “concluded that petitioner suffered a Table
injury of left SIRVA.” Id. at 6. Respondent further agrees that “petitioner has satisfied
all legal prerequisites for compensation under the Act.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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